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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: In Re: Dealer Management                       Case Number: 1:18-cv-00864, MDL 2817
           Systems Antitrust Litigation

An appearance is hereby filed by the undersigned as attorney for:
Plaintiff Baystate Ford Inc.
Attorney name (type or print): Carmen A. Medici

Firm: Robbins Geller Rudman & Dowd LLP

Street address: 655 West Broadway, Suite 1900

City/State/Zip: San Diego, CA 92101-8498

Bar ID Number: 248417                                      Telephone Number: 619/231-1058
(See item 3 in instructions)

Email Address: cmedici@rgrdlaw.com

Are you acting as lead counsel in this case?                                         Yes       ✔ No
Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 06/22/2018

Attorney signature:            S/ Carmen A. Medici
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
